                 Case 2:21-cv-00031-BJR Document 47 Filed 03/02/21 Page 1 of 3




 1                                               THE HONORABLE BARBARA J. ROTHSTEIN
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 8                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10

11    PARLER LLC,
                                                              No. 2:21-cv-00031-BJR
12
                                   Plaintiff,
13                    v.                                    PLAINTIFF’S NOTICE OF
14
                                                            VOLUNTARY DISMISSAL
                                                            WITHOUT PREJUDICE
15
      AMAZON WEB SERVICES, INC.,

16                                                          (Fed. R. Civ. P. 41(a)(1)(A)(i))

17                                  Defendant.

18

19

20         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
21

22          Plaintiff Parler LLC files its Notice of Voluntary Dismissal Without Prejudice pursuant
23
     to Fed. R. Civ. P. 41(a)(1)(A)(i).
24

25
            1.       Plaintiff is Parler LLC and Defendant is Amazon Web Services, Inc.
26

27
            2.       On January 11, 2021, Plaintiff sued Defendant by filing a Verified Complaint.
28

29
                                                                               David J. Groesbeck, P.S.
30     PLAINTIFF’S NOTICE OF                                                   Attorney and Counselor
       VOLUNTARY DISMISSAL                                                    1333 E. Johns Prairie Rd.
31                                                                           Shelton, Washington 98584
       WITHOUT PREJUDICE                                                           (509) 747-2800
32     (CASE NO. 2:21-cv-31-BJR) – 1
                 Case 2:21-cv-00031-BJR Document 47 Filed 03/02/21 Page 2 of 3




 1          3.       Defendant has been served with process and has not served an answer or a
 2
     motion for summary judgment.
 3

 4
            4.       This case is not a class action.
 5

 6          5.       A receiver has not been appointed in this case.
 7

 8          6.       This case is not governed by any federal statute that requires a court order for
 9
     dismissal of the case.
10

11

12
            7.       This voluntary dismissal is without prejudice to refiling. See Fed. R. Civ. P.

13
     41(a)(1)(B).

14

15          DATED this 2nd day of March 2021.
16

17

18
                                                    By /s David J. Groesbeck________
                                                    David J. Groesbeck, WSBA #24749
19                                                  David J. Groesbeck, P.S.
20                                                  1333 E. Johns Prairie Rd.
                                                    Shelton, WA 98584
21                                                  Telephone: (509) 747-2800
22                                                  Email: david@groesbecklaw.com
23

24                                                  By s/ Angelo J. Calfo
                                                    Angelo J. Calfo, WSBA# 27079
25                                                  CALFO EAKES LLP
26
                                                    1301 Second Avenue, Suite 2800
                                                    Seattle, WA 98101
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                                                    (206) 407-2224 | Fax
28                                                  Email: angeloc@calfoeakes.com
29
                                                                                 David J. Groesbeck, P.S.
30     PLAINTIFF’S NOTICE OF                                                     Attorney and Counselor
       VOLUNTARY DISMISSAL                                                      1333 E. Johns Prairie Rd.
31                                                                             Shelton, Washington 98584
       WITHOUT PREJUDICE                                                             (509) 747-2800
32     (CASE NO. 2:21-cv-31-BJR) – 2
           Case 2:21-cv-00031-BJR Document 47 Filed 03/02/21 Page 3 of 3




 1

 2                                    Gene C. Schaerr
 3                                    H. Christopher Bartolomucci
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                                      1717 K Street NW, Suite 900
 5                                    Washington, DC 20006
                                      (pro hac vice )
 6

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                                      Counsel for Plaintiff Parler LLC

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                                                                   David J. Groesbeck, P.S.
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32   (CASE NO. 2:21-cv-31-BJR) – 3
